                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION
                                  Case No. 7:23-cv-897

IN RE:                                          )
                                                )
CAMP LEJEUNE WATER LITIGATION                   )        JOINT PROPOSED PRETRIAL
                                                )     SCHEDULING ORDER FOR CERTAIN
This Document Relates To:                       )          TRACK 1 TRIAL ISSUES
ALL CASES                                       )
                                                )

         The Plaintiffs’ Leadership Group (the “PLG”), together with the Defendant United States

of America (“Defendant” or the “United States”) (collectively, the “Parties”), jointly file this Joint

Proposed Pretrial Scheduling Order pursuant to the Order entered on June 28, 2024 (D.E. 247) .

         1)      Pursuant to the Order entered on July 9, 2024 (D.E. 250), discovery related to the

Track 1 Trial Plaintiffs closes on August 11, 2024.

         2)      The PLG will disclose its experts relating to the “toxic chemical exposure from the

water at Camp Lejeune” (the “Water Contamination Phase”) 75 days after the close of fact

discovery.

         3)      The Defendant will disclose its experts relating to the Water Contamination Phase

45 days after the PLG disclose their experts relating to the Water Contamination Phase.

         4)      The PLG will disclose its rebuttal Water Contamination Phase experts 21 days after

the Defendant discloses its experts relating to the Water Contamination Phase.

         5)      The PLG will disclose its experts relating to “general causation for Track 1

illnesses” (the “General Causation Phase”) 120 days after the close of fact discovery.

         6)      The Defendant will disclose their experts relating to General Causation 45 days

after the PLG discloses its experts relating to the General Causation Phase.




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       7)      The PLG will disclose its rebuttal experts relating to General Causation 21 days

after the Defendant discloses their experts relating to General Causation Phase.

       8)      Following the expert disclosures relating to each phase, the parties will have 45

days to complete expert discovery relating that phase.

       9)      Following expert discovery relating to each phase, the parties will have 30 days to

serve motions to exclude any experts (“Daubert motions”) and motions for summary judgment

relating to that phase. The parties will have 21 days to file oppositions to the motions and 14

days to file replies to the oppositions.

       10)     The parties will disclose expert reliance files within 7 days of the initial expert

disclosure for that expert.

       11)     Expert witness depositions will be presumptively limited to 7 hours per expert for

these phases absent agreement of the parties or court order for good cause.

       12)     Each party will pay for the time that the opposing party expert spends under oath

in deposition, at the same rate paid by the party that retained the expert; otherwise, the parties are

responsible for the fees of the experts they retain.

       13)     At the appropriate time following determination of motions on the Water

Contamination Phase and the General Causation Phase, the parties will disclose its experts

regarding specific causation and damages.



                                  [Signatures on Following Page]




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DATED this 12th day of July, 2024.

Respectfully submitted,

/s/ J. Edward Bell, III                       BRIAN M. BOYNTON
J. Edward Bell, III (admitted pro hac vice)   Principal Deputy Assistant Attorney General
Bell Legal Group, LLC                         Civil Division
219 Ridge St.
Georgetown, SC 29440                          J. PATRICK GLYNN
Telephone: (843) 546-2408                     Director, Torts Branch
jeb@belllegalgroup.com                        Environmental Torts Litigation Section
Lead Counsel for Plaintiffs
                                              BRIDGET BAILEY LIPSCOMB
/s/ Zina Bash                                 Assistant Director, Torts Branch
Zina Bash (admitted pro hac vice)             Environmental Torts Litigation Section
Keller Postman LLC
111 Congress Avenue, Ste. 500                 /s/ Adam Bain
Austin, TX 78701                              ADAM BAIN
Telephone: 956-345-9462                       Special Litigation Counsel
zina.bash@kellerpostman.com                   Environmental Torts Litigation Section
Co-Lead Counsel for Plaintiffs                U.S. Department of Justice
and Government Liaison                        P.O. Box 340, Ben Franklin Station
                                              Washington, D.C. 20044
/s/ Robin Greenwald                           E-mail: adam.bain@usdoj.gov
Robin L. Greenwald (admitted pro hac vice)    Telephone: (202) 616-4209
Weitz & Luxenberg, P.C.
700 Broadway                                  LACRESHA A. JOHNSON
New York, NY 10003                            HAROON ANWAR
Telephone: 212-558-5802                       DANIEL C. EAGLES
rgreenwald@weitzlux.com                       NATHAN J. BU
Co-Lead Counsel for Plaintiffs                Trial Attorneys, Torts Branch
                                              Environmental Torts Litigation Section
/s/ Elizabeth Cabraser                        Counsel for Defendant United States of
Elizabeth Cabraser (admitted pro hac vice)    America
LIEFF CABRASER HEIMANN &
  BERNSTEIN, LLP
275 Battery Street, Suite 2900
San Francisco, CA 94111
Phone (415) 956-1000
ecabraser@lchb.com
Co-Lead Counsel for Plaintiffs




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/s/ W. Michael Dowling
W. Michael Dowling (NC Bar No. 42790)
The Dowling Firm PLLC
Post Office Box 27843
Raleigh, North Carolina 27611
Telephone: (919) 529-3351
mike@dowlingfirm.com
Co-Lead Counsel for Plaintiffs

/s/ James A. Roberts, III
James A. Roberts, III (N.C. Bar No.: 10495)
Lewis & Roberts, PLLC
3700 Glenwood Avenue, Suite 410
P. O. Box 17529
Raleigh, NC 27619-7529
Telephone: (919) 981-0191
Fax: (919) 981-0199
jar@lewis-roberts.com
Co-Lead Counsel for Plaintiffs

/s/ Mona Lisa Wallace
Mona Lisa Wallace (N.C. Bar No.: 009021)
Wallace & Graham, P.A.
525 North Main Street
Salisbury, North Carolina 28144
Tel: 704-633-5244
Co-Lead Counsel for Plaintiffs




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